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UNITED STATES DIS'I`RICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NUMBER: l7-CV-20573

ENRIQUE ARRIETA SOLANA,
Plaintiff

vs.

ALL AMERICAN WASTE &

RECYCLING, LLC and ALEXANDER

MONTEAGUDO,

Defendants

/

 

NOTICE OF WI'I`HDRAWAL OF OBJECTION
TO PLAINTIFF’S MOTION FOR LEAVE TO AMEND

Defendants hereby withdraw their objection to Plaintift’s Motion for Leave to Amend
Complaint, and Defendants request 15 days to file their response to the Plaintiff’s Amended

Complaint.

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CERTIFICATE OF SERVICE
l hereby certify that a true and correct copy of the foregoing was served by filing in
CM/ECF on this 13"‘ day of November, 2017, which will effect service on Brian Pollock, Esq., of

Fairlaw Firm, brian@fairlawattorney.com, cvnthia@fairlawattomey.com, counsel for Plaintiff,

7300 N. Kendall Drive, Suite 450, Miami, FL 33156.

 

 

 

 

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S)\ Martd\W.D. Verster

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